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                      UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI,
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                               RESPONDENT


VERSUS                            CRIMINAL ACTION NO. 5:07cr17-DCB-JCS-1
                                          CIVIL ACTION NO. 5:08cv206-DCB


MICHAEL EARL TYLER                                                     PETITIONER

                                      ORDER

     This matter comes before the Court on the petitioner’s Motion

to Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. §

2255 [criminal docket entry no. 216].                  Having considered the

motion, memorandum in support and opposition thereof, the affidavit

filed by the petitioner’s former counsel, applicable statutory and

case law, and being otherwise fully advised as to the premises, the

Court finds and orders as follows:

                                  I. BACKGROUND

     On   October     25,    2007,    Michael       Earl   Tyler     (“Tyler”       or

“petitioner”) pled guilty to one count of conspiracy to distribute

more than fifty (50) grams of cocaine base and to one forfeiture

count.    At    the   time   he    entered    his    guilty   plea,    Tyler    was

represented by Honorable William Barnett. Prior to sentencing, Mr.

Barnett died.     The Court postponed sentencing and, pursuant to

Tyler’s request, substitute counsel was appointed for him.

     Honorable Michael Knapp began representing Tyler on January

10, 2008, at which time the Presentence Investigation Report
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(“PSR”) had been completed and the deadline for objecting to that

report had passed.     After Mr. Knapp reviewed the PSR with Tyler,

a Motion to Set Aside the Plea [docket entry no. 165] and a number

of objections to the PSR [docket entry nos. 172, 173] were filed.

Tyler subsequently filed a Motion to Withdraw His Motion to Set

Aside Plea Agreement, which this Court granted on February 19, 2008

[docket entry no. 174].    Tyler also ultimately withdrew all of his

objections to the PSR.

        On February 6, 2008, the defendant was sentenced to a 292-

month term of imprisonment, a 5-year term of supervised release and

a $1,500.00 fine. The remaining charges of the 17-count indictment

were dismissed.    Tyler did not appeal his conviction or sentence.

        On May 23, 2008, the petitioner filed the instant Motion to

Vacate, Set Aside or Correct Sentence pursuant to 22 U.S.C. § 2255,

wherein he makes numerous allegations of ineffective assistance of

counsel.    Pursuant to this Court’s Order, the petitioner’s former

counsel, Honorable Michael Knapp, filed an affidavit [docket entry

no. 245] responding to the petitioner’s allegations of ineffective

assistance of counsel.         The government filed its response in

opposition of Tyler’s motion [docket entry no. 247] on October 31,

2008.     The petitioner’s motion and all responses thereto are now

before the Court.

                               II. ARGUMENTS

        In his Motion to Vacate, Set Aside or Correct Sentence, the


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petitioner alleges four grounds on which he is entitled to relief:

     •    Ground One: Ineffective Assistance of Counsel.
          Tyler alleges that counsel was ineffective for
          failing to object to the drug quantity calculation
          used for sentencing purposes.

     •    Ground Two: Ineffective Assistance of Counsel.
          Tyler claims that counsel was ineffective for
          failing to object to the Court’s application at
          sentencing of a two-level dangerous weapons
          enhancement and a four-level organizer or leader
          enhancement.

     •    Ground Three: Ineffective Assistance of Counsel.
          Petitioner argues that counsel acted ineffectively
          by not objecting to or appealing the issue of
          whether the petitioner’s guilty plea was knowing,
          intelligent and voluntary.

     •    Ground Four: Ineffective Assistance of Counsel.
          Tyler asserts that counsel acted ineffectively for
          advising him to agree to the forfeiture.      Tyler
          further claims that counsel should have objected to
          or appealed the fact that Tyler was induced into
          pleading guilty by a promise of a ten-year
          sentence.

In its response, the Government contends that these allegations of

error are without merit. The Government first argues that Tyler is

procedurally barred from bringing this action based on a waiver

contained in the plea agreement.         Alternatively, the Government

contends that Tyler’s claims lack substantive merit.               The Court

considers severally each party’s arguments.

                               III. ANALYSIS

     The Government first argues that Tyler’s Motion to Vacate, Set

Aside or Correct Sentence pursuant to 22 U.S.C. § 2255 must be

denied because it is procedurally barred.               Specifically, the


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Government points to the fact that, in his plea agreement, Tyler

waived the right to collaterally attack his sentence. Tyler’s plea

agreement contained several waivers, including:

     a.   the right to appeal the conviction and sentence
     imposed in this case, or the manner in which that
     sentence was imposed, on the grounds set forth in Title
     18, United States Code, Section 3742, or on any ground
     whatsoever, and

     b. the right to contest the conviction and sentence or
     the manner in which the sentence was imposed in any post-
     conviction proceeding, including but not limited to a
     motion brought under Title 28, United States Code,
     Section 2255.

Plea Agreement ¶14(a-b).

     “An informed and voluntary waiver of § 2255 relief in a plea

agreement is effective to bar such relief.”             United States v.

Heredia, 1995 WL 581683 (5th Cir. Sept. 1, 1995) (unpublished)

(citing United States v. Wilkes, 20 F.3d 651, 653 (5th Cir. 1994)).

A court employs a two-step test to determine whether a waiver

provision bars the collateral attack of a sentence: “(1) whether

the waiver was knowing and voluntary and (2) whether the waiver

applies to the circumstances at hand, based on the plain language

of the agreement.”    United States v. Bond, 414 F.3d 542, 544 (5th

Cir. 2005); United States v. Carreon, 2009 WL 1043910 (S.D. Tex.

April 17, 2009) (unpublished).       Where the record of a change of

plea hearing clearly evidences (1) that a defendant has read and

understood the plea agreement and (2) that he raised no objections

regarding the waiver of appeal provisions, “the defendant will be


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held to the bargain to which he agreed.”                 United States v.

Portillo, 18 F.3d 290, 293 (5th Cir. 1994); Carreon, 2009 WL

1043910 at *2.     A defendant’s “solemn declarations” made at his

change of plea hearing regarding the voluntariness of his plea

“carry a strong presumption of verity.”          Evans v. United States,

2009 WL 1324953 (N.D. Miss. May 12, 2009) (unpublished) (quoting

Blackledge v. Allison, 431 U.S. 63, 74 (1977)).

     As   noted   above,   Tyler’s   plea   agreement     contains     express

waivers of his right to appeal and his right to collaterally attack

his sentence through a § 2255 proceeding.         This plea agreement not

only describes the charge to which the defendant agreed to plead

guilty,   but   also   expressly   references    the    statutory     term      of

imprisonment, which ranges from ten (10) years to life in prison.

The agreement was signed by both Tyler and his counsel on October

25, 2007.   Moreover, during the change of plea hearing, the Court

discussed with Tyler, among other things, (1) the statutory minimum

term of imprisonment; (2) the Court’s discretion to impose a

sentence more severe or less severe than the guideline range; (3)

the voluntariness of his change of plea; (4) Tyler’s reading and

comprehension of the plea agreement; and (5) Tyler’s satisfaction

with his counsel.      To each of these questions, Tyler indicated not

only that he had read and understood the agreement, including the

charge to which he was pleading guilty, but also that he was

entering into the agreement voluntarily and that he was satisfied


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with the quality of representation he received by counsel.

        These facts strongly support a conclusion that the plea

agreement was made knowingly and voluntarily and that Tyler’s §

2255    proceeding   is     barred   by       the   waiver   contained      therein.

However, the Fifth Circuit Court of Appeals has recognized that

such a waiver may not be effective where the collateral attack is

based    on   ineffective    assistance        of   counsel.       Id.    (citations

omitted).       Importantly,    a    defendant’s        claims    of     ineffective

assistance of counsel “survive[] a waiver of appeal only when the

claimed assistance directly affected the validity of that waiver or

the plea itself.”     United States v. White, 307 F.3d 336, 343 (5th

Cir. 2002).

        The Court considers each of Tyler’s arguments of ineffective

assistance to see if they survive the waiver.                  Tyler’s first and

second allegations each pertain to the assistance he received

during his sentencing. Specifically, Tyler argues that his counsel

at sentencing, Michael Knapp, was ineffective in that he failed to

object to certain aspects of the Presentence Investigation Report.

Tyler does not assert, however, that these actions affect the

validity of the underlying plea agreement or the waiver therein of

the right to collaterally attack his sentence.                 Accordingly, these

two arguments are barred by the waiver.                  See Wilburn v. United

States, 2002 WL 32511243 (N.D. Tex. Oct. 7, 2002) (unpublished)

(citing White, 307 F.3d at 336).


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     Tyler’s third and fourth allegations are that his plea and

waiver were not knowing and voluntary because they were based on

ineffective assistance of his counsel, William Barnett, during plea

negotiations.    Id. at 339.      According to Tyler, Barnett (1) never

informed him that the dismissed counts would still be considered as

relevant conduct for sentencing purposes and (2) never explained

the impact of the waivers and stipulations contained in the plea

agreement.   Tyler contends that, if he had known these things, he

would not have entered a guilty plea but instead would have

proceeded to trial. Because these arguments relate to the validity

of the plea agreement, they are not barred by the waiver.

     Turning    then   to   the    merits     of   Tyler’s    two     ineffective

assistance of counsel claims which survive the waiver, the Court

first notes that the two-prong test articulated by the United

States Supreme Court in United States v. Strickland, 466 U.S. 688

(1984), applies.       In order to prove ineffective assistance of

counsel, the movant must show “(1) that his counsel’s performance

was so deficient that it fell below an objective standard of

reasonableness and (2) that the deficient performance prejudiced

his defense.” United States v. Culverhouse, 507 F.3d 888, 895 (5th

Cir. 2007) (citing Strickland, 466 U.S. at 687).                    “If the Court

finds that one of the Strickland requirements is not satisfied, it

need not consider the other.”              United States v. Assi, 2008 WL

346079 (S.D. Miss. Feb. 6, 2008) (unpublished) (citing Buxton v.


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Lynaugh, 879 F.2d 140, 142 (5th Cir. 1989)).                As to the prejudice

prong, the movant must show “that there is a reasonable probability

that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.”                Williams v. Taylor, 529

U.S. 362, 390-91 (2000).           “In the context of a guilty plea, in

order to satisfy the prejudice requirement of the second Strickland

prong,   ‘the   defendant     must    show    that    there     is    a     reasonable

probability that, but for counsel’s errors, he would not have

pleaded guilty and would have insisted on going to trial.’” Assi,

2008 WL 346079 (quoting Hill v. Lockhart, 474 U.S. 52, 59 (1985))

(emphasis added).

      To reiterate, Tyler claims that he would not have pleaded

guilty   if   Barnett   (1)   had    informed     him    that    conduct          in   the

dismissed counts would still be considered relevant conduct for

sentencing purposes and (2) had fully advised him of the impact of

the waivers and stipulations contained in the plea agreement.

However, a review of the record shows that Tyler was informed both

in writing in the plea agreement and verbally in open court of the

minimum and maximum penalties for the crime to which he was

pleading guilty. Moreover, at the hearing, the government reviewed

the   waivers   contained     in    the   plea    agreement,         and    the    Court

impressed upon Tyler that it had the discretion to impose a penalty

above or below the guideline range.              Tyler, under oath, verbally

indicated his understanding of these conditions and proceeded to


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plead guilty to the charge as outlined in the plea agreement.

Considering this extensive disclosure to Tyler both in the plea

agreement and in open court, this Court does not find that Tyler

can   show    prejudice      required    for    a   successful        challenge       of

ineffective assistance of counsel.             Stated differently, because he

possessed a thorough knowledge of the penalties that he faced and

nevertheless decided to plead guilty, Tyler cannot show that he

would have gone to trial had Mr. Barnett provided additional

information.      Accordingly, the Court finds Tyler’s claims of

ineffective assistance to be without merit.

      Tyler also requests an evidentiary hearing on his motion.                       “A

motion brought under 28 U.S.C. § 2255 can be denied without a

hearing   only   if   the     motion,    files,     and   records     of    the    case

conclusively show that the prisoner is entitled to no relief.”

United States v. Bartholomew, 974 F.2d 39, 41 (5th Cir. 1992)

(citing United States v. Auten, 632 F.2d 478 (5th Cir. 1980)).

Since the Court concludes that Tyler’s motion, the files, and the

records in this case clearly show that he is not entitled to

relief, Tyler’s request for an evidentiary hearing is denied.

                            IV. CONCLUSION AND ORDER

      Based   upon    the    foregoing    analysis,       the   Court      finds    the

petitioner’s motion to be without merit.               Accordingly,

      IT IS HEREBY ORDERED that the petitioner’s Motion to Vacate,

Set Aside or Correct Sentence [docket entry no. 216] is DENIED.


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   SO ORDERED, this the 20th day of July 2009.



                                            s/ David Bramlette

                                       UNITED STATES DISTRICT JUDGE




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